      Case 2:19-cv-04237-SVW-PJW Document 13 Filed 06/11/19 Page 1 of 1 Page ID #:243
                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
Nano Foundation, Ltd., et al                                                CASE NUMBER:

                                                                                              2:19-cv-04237-SVW-PJW
                                                          PLAINTIFF(S)
                                     v.
David C. Silver
                                                                                 NOTICE TO FILER OF DEFICIENCIES IN
                                                                                 ELECTRONICALLY FILED DOCUMENTS
                                                      DEFENDANT(S) .

PLEASE TAKE NOTICE:
The following problem(s) have been found with your electronically filed document:

          6/10/2019                               11&12                        Motion to Dismiss/ Motion to Strike
          Date Filed                              Doc. No.                     Title of Doc.
ERRORS WITH DOCUMENT
             A Certificate of Good Standing is not attached to the pro hac vice application
             Caption of document is incomplete/incorrect
     ✔       Case number is incorrect or missing
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             Proposed document was not submitted as separate attachment
             Title page is missing
             F.R.Civ.P 15 Amended pleading is untimely
             Local Rule 7.1-1 No Notice of Interested Parties and/or no copies
             Local Rule 7-19.1 Notice to other parties of ex parte application lacking
             Local Rule 11-6 Memorandum/brief exceeds 25 pages
             Local Rule 11-8 Memorandum/brief exceeding 10 pages shall contain table of contents
             Local Rule 19-1 Complaint/Petition includes more than 10 Does or fictitiously named parties
             Local Rule 56-1 Statement of uncontroverted facts and/or proposed judgment lacking
             Local Rule 56-2 Statement of genuine disputes of material fact lacking
             Other:




 Note:     In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
           document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to
           this notice unless and until the Court directs you to do so.
                                                                               Clerk, U.S. District Court

Dated: June 11, 2019                                                                 By:
                                                                                                  Deputy Clerk
cc: Assigned District Judge and/or Magistrate Judge

                 Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.

G-112A (05/19)                     NOTICE TO FILER OF DEFICIENCIES IN ELECTRONICALLY FILED DOCUMENTS
